         Case 1:02-cv-08881-JPO Document 240 Filed 01/17/19 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SILVERCREEK MANAGEMENT, INC.
 et al.,
                    Plaintiff,                                     02-CV-8881 (JPO)

                      -v-                                               ORDER

 CITIGROUP, INC., et al.,
                               Defendant.


J. PAUL OETKEN, District Judge:

       On January 10, 2019, the Court entered an Order of Final Judgment and Dismissal that

dismissed with prejudice Plaintiffs’ claims against all parties who have appeared in this action

other than those claims brought against Defendants Richard A. Causey and Jeffrey K. Skilling.

(See Dkt. No. 239.)

       On or before February 13, 2019, Plaintiffs shall file a letter with the Court indicating

whether Plaintiffs intend to pursue the matter as to Defendants Causey and Skilling. If Plaintiffs

fail to do so by February 13, 2019, all remaining claims against Defendants Causey and Skilling

will be dismissed for lack of prosecution.

       SO ORDERED.

Dated: January 17, 2019
       New York, New York

                                             ____________________________________
                                                        J. PAUL OETKEN
                                                    United States District Judge
